 

Case 3:10-cv-01591-JCH Document 13 Filed 12/31/10 Page 1 of 14

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

ZOHAIR ALNABULSI : CIVIL ACTION NO.
: 3:10-cv-01591(JCH)
Plaintiff,

V.

FIRST UNUM LIFE INSURANCE
COMPANY and the DAVID LERNER
ASSOCIATES, INC., GROUP LONG
TERM DISABILITY PLAN

Defendants. December 31, 2010

RULE 26(F) REPORT OF PARTIES' PLANNING MEETING

Date Complaint Filed: October 7, 2010
Date Complaint Served on First Unum: October 22, 2010
Date of First Unum’s Appearance: October 29, 2010
Date Complaint Served on David Lerner: October 18, 2010
Date of David Lerner’s Appearance: December 16, 2010

Pursuant to Fed.R.Civ.P. 16(b) and 26(f) and D.Conn.L.Civ.R.26(f), a conference
was held on December 31, 2010 via telephone. The participants were: |

Mr. Zohair Alnabulsi, plaintiff

Attorney Alexander Schwartz for defendant First Unum Life Insurance Company.

Attorney Gabriel Williams for defendant David Lerner Associates, Inc., Group
Long Term Disability Plan.
I. Certification. Undersigned counsel certify that, after consultation with their

clients, they have discussed the nature and basis of the parties' claims and defenses
 

Case 3:10-cv-01591-JCH Document13 Filed 12/31/10 Page 2 of 14

and any possibilities for achieving a prompt settlement or other resolution of the case
and, in consultation with their clients, have developed the following proposed case
management plan. Counsel further certify that they have forwarded a copy of this report
to their clients.

ll. Jurisdiction.

A. Subject Matter Jurisdiction: Jurisdiction of this Court exists pursuant
to 28 U.S.C. §1331.

B. Personal Jurisdiction: Personal jurisdiction over defendants is not in
dispute.

lll. Brief Description of Case.

A. Claims of Plaintiff:

Plaintiff Zohair Alnabulsi, brings this action against defendants UNUM and David
Lerner Associates,Inc. Group Long Term Disability Plan, as administered by UNUM, for
violation of the Employee Retirement Income Security Act of 1974, (ERISA) and any
amendments thereto. Zohair Alnabulsi is a participant in the plan, an ERISA welfare
plan that is underwritten and insured by UNUM and issued to David Lerner Associates,
Inc.

This Complaint alleges the following violations of ERISA: .

(1) UNUM's unlawful termination of Zohair Alnabulsi's Long Term Disability
benefits without presenting medical evidence supporting its decision; (2) UNUM's
unjustified disregard for opinions of Steven C. Levin, M.D, Joachim Baehring, M.D,

Khalid Abbed, M.D, and Jahangir Maleki, M.D, treating physicians in an attempt to

 
 

Case 3:10-cv-01591-JCH Document13 Filed 12/31/10 Page 3 of 14

deprive Mr. Alnabulsi's of the LTD benefits he is due; and (3) UNUM's failure to provide
reasonable claims procedure that would yield a decision on the merits of Mr. Alnabulsi’s
claim.

Under the direction of his doctors, Mr. Alnabulsi has attempted a variety of
remedies in order to obtain some relief from his chronic pain. He underwent back
surgery, followed by numerous medications, patches, injections and physical therapy.
Unfortunately, none of these therapies has been successful.

UNUM was provided with Mr. Alnabulsi's illnesses treatment records. Mr.
Alnabulsi's treating physicians are highly specialized in their field of medicine and part of
respected medical organization, Yale New Haven Hospital and the Cleveland Clinic. All
his treating physicians are in agreement that Mr. Ainabulsi is disabled.

The plan is a contract, and Mr. Alnabulsi has performed all of his obligations
‘under the contract. ERISA § 502(a)(1)(B), 29 U.S.C. § 1132(1)(B) states that: A civil
action may be brought.

UNUM's action constitutes an unlawful and/or arbitrary and capricious denial of
benefits due under ERISA, as provided in ERISA § 502(a)(1)(B), § 1132(a)(1)(B). In
accordance with ERISA 8 502, 29 U.S.C. § 1132 Mr. Alnabulsi is entitled to be paid
benefits under the plan based on his disabled status from the date his benefits were
denied, and continuing into the future.

The Plaintiff respectfully prays that the court declare, adjudge and decree that

Mr. Alnabulsi is entitled to past and ongoing LTD benefits under the terms of the plan.
 

Case 3:10-cv-01591-JCH Document13 Filed 12/31/10 Page 4 of 14

B. Defenses and Claims (Counterclaims, Third Party Claims, Cross-Claims)
of Defendant(s):

Unum, as the claim administrator under the employee benefit plan in suit,
reviewed medical and vocational information plaintiff submitted in support of his claim;
consulted with experts; and ultimately concluded that plaintiff was not entitled to benefits
under the terms of the plan. Plaintiff administratively appealed Unum’s determination
and, after further review and consideration, Unum’s compliance department affirmed the
determination.

This Court sits, in essence, in an appellate capacity. See citations at section (V)
(E) (2) below. It must determine, under a standard highly deferential to the
administrator, whether Unum acted within its discretion in denying the claim. This Court
should conclude that Unum acted within its discretion in denying plaintiff's claim. The
administrative record shows, among other things, the following: (i) plaintiff underwent a
third party functional capacity evaluation which determined that, notwithstanding his
subjective complaints, plaintiff had full time sedentary work capacity; (ii) Unum
consulted vocational consultants who uniformly informed it that plaintiff's position was
categorized as “sedentary,” and (iii) Unum consulted numerous other medical and
vocational experts in reaching its conclusion that plaintiff was not “disabled” according
to the terms of the Policy.

As the administrative record documents, Unum did not act arbitrarily or
capriciously in denying the claim. David Lerner Associates also asserts that plaintiff's

complaint fails to state a claim upon which relief may be granted.
 

Case 3:10-cv-01591-JCH Document 13 Filed 12/31/10 Page 5 of 14

C. Defenses and Claims of Third Party Defendant(s): —_N/A at this time.

IV. Statement of Undisputed Facts: Counsel certify that they have made a
good faith attempt to determine whether there are any material facts that are not in
dispute. The parties state that the following material facts are undisputed:

1. Plaintiff, Zohair Alnabulsi, is a former employee of David Lerner
Associates, Inc. (“Lerner”)

2. Plaintiff ceased working at Lerner in November 2008.

3. At the time Plaintiff's employment ceased, he was a participant in a
welfare benefit plan providing group long term disability benefits (the Plan) sponsored,
established and maintained by Lerner.

4. Long-term disability benefits were provided under the Plan through a
group insurance policy, Policy #582237, issued by First Unum Life Insurance Company
(“Unum”) to Lerner.

6. Unum is the claims administrator and claims fiduciary for long-term
disability benefit claims under the Plan.

Further, any allegations in the Plaintiff's complaint admitted in the Defendants’
answer to the Plaintiffs complaint will constitute the undisputed facts.

V. Case Management Plan.

A. Standing Order on Scheduling in Civil Cases: The parties request

modification of the deadlines in the Standing Order on Scheduling in Civil Cases as

described below.

 

 
 

Case 3:10-cv-01591-JCH Document 13 Filed 12/31/10 Page 6 of 14

B. Scheduling Conference with the Court: The parties do request a pretrial
conference with the Court before entry of a scheduling order pursuant to Fed.R.Civ.P.
16(b). |

C. Early Settlement Conference:

1. The parties certify that they have considered the desirability of
attempting to settle the case before undertaking significant discovery or motion
practice.

2. The parties do request an early settlement conference at this time.

3. The parties do request a referral to alternative dispute resolution
pursuant to D.Conn.L.Civ.R. 36.

D. Joinder of Parties, Responsive Pleadings and Amendment of Pleadings:

1. Plaintiff should be allowed until December 31, 2010 to file motions

to join additional parties and to file motions to amend the pleadings.

2. Defendants will file their answers by January 17, 201 1.

E. Discovery:

1. Plaintiff's Position:

For years, long term disability insurance claimant's were prevented from
conducting even the most basic discovery. The court's having basically accepted the
disability insurer's arguments that they could only examine the records that the disability
insurer reviewed in making the claims decision. However, that approach has changed

since the Metlife v Glenn decision.
 

Case 3:10-cv-01591-JCH Document 13 Filed 12/31/10 Page 7 of 14

A recent decision issued by the US District Court in Detroit illustrates perfectly
the subtle shift now taking place where the Court allowed plaintiff to actually depose the
physicians relied upon by the Standard Insurance Company to deny plaintiff's claim for
long term disability.

Plaintiff's counsel discovered that one of the physicians, Dr. Dickerson, had been
used over and over again to terminate disability benefit claims. A simple search of the
case law provided at least a dozen other cases in which Standard used this expert.
Counsel for plaintiff astutely asked:

Is Dr. Dickerson's extensive association with Standard the result of him being
designated an "approved physician" by the insurer's management team? Is it because
all or nearly all of his opinions favor Standard instead of the disabled person? Or is it
because he is a "consultant physician" for Oregon Medical Evaluations, Inc. (OEM)
which provides "services for insurance claims professionals, self-insured, attorneys and
workers compensation programs."? The answers to these and other questions such as
percentage of income obtained or percentage of professional time spent in "consulting"
for Standard and others are impossible to ascertain without formal discovery.

Plaintiff's counsel also interestingly discovered that the second physician relied
upon by Standard, Dr. Shirley Ingram:

From what can be ascertained from this information, Dr. Ingram has taken two
remedial medical programs in the four-year period from 2003 to 2007. She was not

practicing clinical medicine or seeing patients during the relevant period that Ms.
 

Case 3:10-cv-01591-JCH Document 13 Filed 12/31/10 Page 8 of 14

McCandless was claiming benefits, 2005 thru 2007. Yet, Standard believes that she
was the best physician to review Ms. McCandless's claim.

The court agreed that this information merited further discovery to find out why
the Standard relied upon these two experts in denying plaintiffs claim for long term
disability benefits rather than her treating physicians who supported her claim for
disability benefits.

UNUM group has been accused of many bad faith insurance practices and has a
history of delaying and denying valid insurance claims. In fact according to the
American. Association of Justice (AAJ) report some of UNUM's former employee have
said that they had been ordered to deny valid claims in order to save the company
money. Internal documents referencing the company's desire to implement cost saving
policies have been discovered that corroborated the former employees’ claims.

UNUM has been called an "outlaw company" by California Insurance
Commissioner John Garamendi and a "rogue firm" by the BBC.

ED Bradley of CBS 60 Minutes said: "A number of people who worked at UNUM
Provident, the giant of the disability insurance business, whose clients include CBS that
the company management puts tremendous pressure on claims handlers to deny new
claims and shut down existing ones". Many UNUM Provident policy holders- who are
obviously disabled are left out in the cold.

By 2005 , so many complaints about UNUM's bad faith insurance practices were

reported to U.S state insurance commissioners that UNUM agreed to pay fines to the

 

 
 

Case 3:10-cv-01591-JCH Document 13 Filed 12/31/10 Page 9 of 14

insurance commissioners of 48 states, plus they agreed to re-open over 200,000 cases
in which they had denied coverage to policyholders.

In New York, when UNUM was brought to federal court in a class action in the
Southern District of New York over its practices nationwide, the company violated the
judges’ order to preserve the internal company documents and emails regarding its
conduct. The plaintiffs' attorneys had to seek another order to get the documents and
email records secured and stored at an off-site location. Therefore discovery should be
granted. The present Plaintiff requests permission to depose the people who made the
decision to deny his claim.

2. Defendants’ Position:

Unum and Lerner submit that there should be no discovery in this case. The
Supreme Court has made clear what other courts have recognized for many years: an
insurer which both pays and administers claims operates under a conflict of interest.
Metropolitan Life Ins. Co. v. Glenn, 128 S.Ct. 2343 (2008). Therefore, to the extent that |
plaintiff seeks discovery to establish a conflict of interest, that discovery is unnecessary
because the court will presume one exists in this case.

In light of this presumption, plaintiff needs no further discovery. Unum voluntarily
will produce the administrative record to him. The parties will use that record to present
their cross-motions for judgment on the administrative record. The Court will then
review the record to ascertain whether the administrator acted within its discretion or
arbitrarily and capriciously in reviewing plaintiff's claim for benefits. Miller v. United

Welfare Fund, 72 F.3d 1066, 1071 (2d Cir. 1995). See also Muller v. First Unum Life

 

 
Case 3:10-cv-01591-JCH Document13 Filed 12/31/10 Page 10 of 14

Insurance Company, 2003 U.S. App. LEXIS 16899 *13 (2d Cir. August 18, 2003)
(court’s determination is to be made according to a review of the record upon which the
decision was made—no "outside" documents or testimony is reasonably calculated to
lead to admissible evidence). A "district court reviewing an ERISA denial of benefits is
effectively functioning in an appellate capacity because it is precluded from considering
new evidence[.]” Larsen v. The Prudential Insurance Company of America, 151 F.Supp.
2d 167, 172 (D.Conn. 2001). The Court is “not free to substitute its own judgment for
that of the plan’s administrator as if it were considering the issue of eligibility anew.”
Kocsis v. Standard Insurance Company, 142 F.Supp. 2d 241, 251-52 (D. Conn. 2001).
Unum and David Lerner therefore reserve the right to object to any request that seeks
discovery outside the scope of the "record review" discovery standard.

3. All discovery, including depositions of expert witnesses pursuant to

 

Fed.R.Civ.P. 26(b)(4), will be commenced no sooner than January 3, 2011 and
completed (not propounded) by June 15, 2011.

4. Discovery will not be conducted in phases.

5. Discovery will be completed by June 15, 2011.

6. Plaintiff anticipates that he will require two depositions in this case.
Defendants anticipate that they will require no depositions of fact witnesses.

7. Plaintiff may request permission to serve more than 25

interrogatories. Defendant submits that no extra-record discovery is appropriate.

8. Plaintiff does intend to call expert witnesses.
9. Defendants do not intend to call expert witnesses.
10

 

 
 

Case 3:10-cv-01591-JCH Document13 Filed 12/31/10 Page 11 of 14

10. A damages analysis will be provided by any party who has a claim
or counterclaim for damages by June 15, 2011.

11. Undersigned have discussed the disclosure and preservation of
electronically stored information, including, but not limited to, the form in which such
data shall be produced, search terms to be applied in connection with the retrieval and
production of such information, the location and format of electronically stored
information, appropriate steps to preserve electronically stored information, and the
allocation of costs of assembling and producing such information. Unum will produce
the administrative record, which contains the universe of information upon which it
made its determination on plaintiff's claim. Therefore, discovery into electronically stored
information is not relevant

12. | Undersigned have discussed discovery procedures that minimize
the risk of waiver of privilege or work-product protection, including procedures for
asserting privilege claims after production. If any privileged issues arise, they shall
present them to the Court for resolution

F. Dispositive Motions:Parties request that they be permitted to file
dispositive motions on or before June 30, 2011.

G. Joint Trial Memorandum: The parties submit that a joint trial
memorandum should be filled within 30 days of the court's decision on the defendants’

motion for summary judgment.

11

 
 

Case 3:10-cv-01591-JCH Document13 Filed 12/31/10 Page 12 of 14

Vi. Statement re: Sanctions

Pursuant to the Court’s December 15, 2010 Notice, the parties submit that
sanctions should not be imposed for the following reasons: Plaintiff is proceeding pro
se and has been attempting to proceed expeditiously with prosecuting this action. He
has been responsive, communicative and cooperative with defendants’ counsel, and
any delay was caused unintentionally and did not cause prejudice to either defendant.
Further, the parties have been discussing a mechanism in which Unum will take over
responsibility for the defense of the entire case and plaintiff will voluntarily discontinue
his action against David Lerner Associates, Inc., Group Long Term Disability Plan.
Vil. Trial Readiness. This case will be trial ready within 45 days of the Court's
decision on the defendants' motion for summary judgment.

As officers of the Court, undersigned counsel agree to cooperate with each other
and the Court to promote the just, speedy and inexpensive determination of this action.

Defendants’ counsel has authorized plaintiff's counsel to sign on his behalf.

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12

 
Case 3:10-cv-01591-JCH Document 13 Filed 12/31/10 Page 13 of 14

DEFENDANTS

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Case 3:10-cv-01591-JCH Document 13 Filed 12/31/10 Page 14 of 14

CERTIFICATION

| hereby certify that on a copy of foregoing was filed electronically and served by
mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-
mail to all parties by operation of the Court’s electronic filing system or by mail to
anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.
Parties may access this filing through the Court’s CM4ECF System.

 

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14

 

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